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                       IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF OREGON

                                      EUGENE DIVISION

 OREGON BANKERS ASSOCIATION,                              Case No. 6:20-cv-01375-AA
 LEWIS & CLARK BANK, BANK OF
 EASTERN OREGON, AND PEOPLE’S
 BANK OF COMMERCE,                                        DEFENDANTS’ FRCP 12(B)(1) MOTION
                                                          TO DISMISS
        Plaintiffs,
                                                          ORAL ARGUMENT REQUESTED
                v.
 STATE OF OREGON, ELLEN
 ROSENBLUM, in her official capacity as
 the Attorney General of the State of
 Oregon, and ANDREW STOLFI, in his
 official capacity as the Director of the
 Oregon Department of Consumer and
 Business Services,

        Defendants.




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                CERTIFICATION OF COMPLIANCE WITH LR 7-1(A)(1)

       Counsel for Defendants certify that on September 28, 2020, counsel for the parties

conferred by telephone and made a good-faith effort to resolve the disputes raised in this motion.

Despite the parties’ good-faith efforts, the parties have been unable to resolve those disputes.

                                               MOTION

       Under Federal Rule of Civil Procedure (“FRCP”) 12(b)(1), Defendants move as follows:

           •   Defendant the State of Oregon moves, pursuant to the Eleventh Amendment of
               the Constitution of the United States, to dismiss all claims against it;

           •   Defendants Ellen Rosenblum, the Attorney General of the State of Oregon, and
               Andrew Stolfi, Director of the Oregon Department of Consumer and Business
               Services, move, also pursuant to the Eleventh Amendment, to dismiss Plaintiffs’
               third claim for relief to the extent Plaintiffs bring this claim under the Takings
               Clause of the United States Constitution;

           •   All Defendants move to dismiss Plaintiffs’ claim relating to subsection (9) of
               Oregon House Bill 4204 (2020) as moot;

           •   All Defendants move to dismiss Plaintiff the Oregon Business Association for
               lack of standing; and,

           •   All Defendants move to dismiss Plaintiffs Lewis & Clark Bank and People’s
               Bank of Commerce’s third claim for relief for lack of standing.

                                  MEMORANDUM OF LAW

       INTRODUCTION

       The Oregon Legislature passed House Bill 4204 during a special session this summer.

HB 4204 places temporary limits on certain lenders’ ability to foreclose or impose penalties on

certain borrowers for late payments. HB 4204 provides stopgap, emergency protection to

vulnerable homeowners and small businesses during the economic crisis caused by a global

pandemic. Plaintiffs—three Oregon chartered banks and a trade association—seek declaratory




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and injunctive relief from the Court against two provisions of HB 4204. First, Plaintiffs seek to

enjoin application of subsection 1(3) of HB 4204 – the provision that, among other things,

temporarily prohibits lenders from charging fees or penalties to borrowers for late payment or

non-payment under certain circumstances. Second, Defendants seek to enjoin application of

subsection 1(9), which required lenders to provide notice to borrowers of their rights under HB

4204 by August 30, 2020. Plaintiffs also seek relief for what they characterize as “retroactive”

application of HB 4204, alleging unconstitutional takings and deprivation of due process.

       Plaintiffs’ complaint suffers from significant jurisdictional defects. The State of Oregon

(“State”) is not a proper defendant in federal court under the doctrine of Eleventh Amendment

sovereign immunity. To the extent Plaintiffs allege “takings” against Ellen Rosenblum, the

Attorney General of the State of Oregon, (“Attorney General”) and Andrew Stolfi, Director of

the Oregon Department of Consumer and Business Services, (“Director”) those claims are

similarly not properly before this Court. Plaintiffs’ claim regarding the notice provision in

subsection 1(9) of HB 4204 is moot because the notice deadline has passed and, to the extent any

plaintiff sent notice, there is no relief that the Court can grant. Finally, the Oregon Bankers

Association (“OBA”) lacks standing to pursue all its claims, and Lewis & Clark Bank and

People’s Bank of Commerce similarly lack standing to pursue their third claim for relief.

       BACKGROUND

               The Impact of COVID-19 in Oregon

       The global pandemic of the novel infectious coronavirus (“COVID-19”) is a generation-

defining crisis. It threatens the lives, health, and economic wellbeing of people around the

world, including many people here in Oregon. To protect the well-being of Oregonians and

Oregon small businesses, both the Governor and the Legislature acted swiftly.


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       On March 8, 2020, Governor Brown, declared a state of emergency due to the public

health threat posed by COVID-19. See Executive Order (“EO”) 20-03. 1 In the following

months, Governor Brown took decisive action to slow the spread of COVID-19 in Oregon and to

mitigate the health and economic impacts of the global pandemic. These actions included

placing limitations on social gatherings, closing schools, banning on-site consumption of food

and drink at restaurants, and ordering the postponement of nonurgent medical procedures to

conserve personal protective equipment and hospital beds. See EO 20-37 (summarizing

Governor Brown’s response to the pandemic).

       Governor Brown was particularly concerned with ensuring that Oregonians stayed at

home to the greatest extent possible to limit transmission of the virus. On March 23, 2020, the

Governor ordered Oregonians to “Stay Home, Save Lives,” directing people to stay at home

when possible, closing specified retail businesses, and requiring social distancing measures. Id.

at 1. To ensure that tenants could remain at home, Governor Brown put in place eviction

protections. See EO 20-11 (prohibiting law enforcement officers from enforcing residential

tenant eviction notices and orders); EO 20-13 (ordering a temporary moratorium on evictions

based on nonpayment of rent).

               The Legislature Enacts HB 4204 to Provide Temporary Protection to
               Homeowners and Small Businesses

       After taking immediate action, the Governor called a special session of the legislature to

adopt laws to help address the impact of the pandemic. As pertinent here, the Oregon

Legislature took steps to ensure that Oregonians have access to housing where they can continue



1
  Governor Brown’s executive orders are available at https://www.oregon.gov/gov
/admin/pages/executive-orders.aspx.


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to stay home and save lives during the COVID-19 crisis and to protect small businesses during

the economic downturn. On June 26, 2020, the Oregon legislature passed HB 4204 in its first

special session of 2020.2 HB 4204 institutes a moratorium on certain lender actions and

foreclosures. Governor Brown signed HB 4204 into law on June 30, 2020. Its stated purpose is

“the immediate preservation of the public peace, health and safety.” Id.

       HB 4204 recognizes a temporary “emergency period.” That emergency period “begins

on March 8, 2020, and ends on September 30, 2020, except that the Governor may specify a later

date by executive order not later than 30 days before September 30, 2020.” HB 4204 § 1(2)(b).

During the emergency period, if a borrower notifies a lender that the borrower will not be able to

make payments on a mortgage, land sale contract, or other security interest secured by real

property or personal property used as a residence, the lender may not treat nonpayment as a

default. § 1(3)(a). 3 Instead, either the lender must (1) agree to modify, defer, or otherwise

mitigate the loan, including by agreeing to a foreclosure avoidance measure; or (2) defer from

collecting the periodic installment payment during the emergency period and permit the

borrower to pay any amount the borrower owes to the lender as a result of the deferral when the



2
 The history of HB 4204 is available at https://olis.oregonlegislature.gov/liz/2020S1
/Measures/Overview/HB4204.
3
 HB 4204 defines “borrower” as “a mortgagor of real property, a grantor, as defined in ORS
86.705, a purchaser in a land sale contract, a person that enters into a retail installment contract
with, or gives a security interest to, a lender for subject property and a successor in interest to the
mortgagor, grantor, purchaser or person.” § 1(2)(a).

HB 4204 defines “lender” as a beneficiary or trustee, both as defined in ORS 86.705, a
mortgagee, as defined in ORS 87.005, a seller in a land sale contract, a licensee, as defined in
ORS 86A.303, a retail seller, as defined in ORS 83.010, in a retail installment contract for
subject property or an agent, affiliate or employee of a beneficiary, trustee, mortgagee, seller,
retail seller or licensee.” § 1(2)(f).


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full loan amount is due. § 1(3)(a)(A)– (B). The borrower does not need to provide notice more

than once, but the borrower must attest that nonpayment is a result of lost income related to the

COVID-19 pandemic. § 1(3)(c). In the case of commercial property or residential property with

more than four dwelling units, the borrowers’ notification must include financial statements or

other evidence that demonstrates a loss of income related to the COVID-19 pandemic and must

disclose any funds the borrower received from the United States Small Business Administration

under the Paycheck Protection Program. Id.

       For obligations subject to HB 2404, a lender also is prevented from:

           •   Imposing or collecting charges, fees, penalties, attorney fees, or other amounts
               that the lender might otherwise have imposed or collected from a borrower for
               nonpayment;

           •   Imposing a default rate of interest that the lender might otherwise have imposed
               or collected from the borrower for nonpayment;

           •   Treating in any manner the borrower’s nonpayment as an ineligibility for a
               foreclosure avoidance measure;

           •   Requiring or charging for an inspection, appraisal, or a broker opinion of value,
               not otherwise permitted in the absence of a default;

           •   Initiating cash management not already in existence before the effective date of
               HB 4204;

           •   Implementing lockbox procedures not already in existence before the effective
               date of HB 4204;

           •   Taking control of the operating revenue from real property secured by the
               financing document unless the control was established before the effective date of
               HB 4204; or

           •   Declaring a default based on the borrower’s failure to meet financial covenants
               due to inadequate operating revenue resulting from the COVID-19 pandemic.

§ 1(3)(d)(A)–(H).




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       A lender also may not bring an action or suit for foreclosure or enforce any forfeiture

remedy unless certain conditions are met. § 1(4)(a)–(d), (10). If a lender initiated a foreclosure

before the effective date of HB 4204, the deadline for foreclosure is tolled during the emergency

period. § 1(5). During the emergency period, courts may not enter judgments of foreclosure.

§ 1 (6). Nor may any trustee’s sale or execution sale occur. § 1(7).

       HB 4204 confers a private right of action on any borrower who suffers an ascertainable

loss of money or property because a lender took an action prohibited under subsection (3).

§ 1(8). A borrower who prevails in the action may recover court costs and attorney fees. Id. By

August 30, 2020, every lender doing business in Oregon was required to give their borrowers

written notice by mail of the borrowers’ rights under the statute. § 1(9).

       HB 4204 is a temporary measure. It provides that it automatically will be repealed

90 days after the expiration of the emergency period. § 2. By Executive Order, on August 31,

2020, Governor Brown extended the emergency period to December 31, 2020. EO 20-37.

Unless Governor Brown extends or terminates EO 20-37, HB 4204 will expire in the new year.

       COVID-19 has continued to threaten the lives and health of Oregonians across the state.

As of August 31, 2020, there were at least 26,713 cases and 459 deaths in Oregon resulting from

the virus. Ensuring that shelter remains available to Oregonians continues to be a critical part of

combating the effects of COVID-19 and limiting the virus’s spread. Additionally, as a result of

the pandemic, small business owners are struggling to pay their mortgages. HB 4204 provides

these Oregonians with some temporary protection.

               Plaintiffs’ Lawsuit

       On August 13, 2020—six weeks after HB 4204 went into effect—Plaintiffs filed this

lawsuit against the State, the Attorney General, and the Director. The lawsuit seeks to enjoin


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enforcement of HB 4204’s subsection (3), which temporarily limits lenders from defaulting on

borrowers or imposing penalties for late payment, and subsection (9), which required lenders to

provide certain notice to borrowers by August 30, 2020. Plaintiffs also seek to have these

provisions declared unconstitutional under the Supremacy and Contracts Clauses of the United

States Constitution. Finally, Plaintiffs demand a determination that either (1) HB 4204 does not

apply retroactively; or (2) if it does, retroactive application violates the Due Process and Takings

Clauses of the U.S. Constitution and is therefore enjoined. Plaintiffs do not challenge

subsections (4) through (7) concerning foreclosures.

       Plaintiffs’ claims suffer from threshold deficiencies that require dismissal at this stage of

litigation. Plaintiffs have failed to account for the State’s sovereign immunity and that their

claims regarding notice are moot. The Court lacks subject matter jurisdiction to consider these

defective claims. Accordingly, Defendants respectfully ask the Court to dismiss them.

Moreover, Plaintiff OBA lacks standing, and Plaintiffs Bank of Eastern Oregon and People’s

Bank of Commerce lack standing to pursue their third claim for relief.

       STANDARDS

       FRCP 12(b)(1) allows a defendant to move to dismiss a case for “lack of subject-matter

jurisdiction.” FRCP 12(b)(1). When a defendant correctly identifies a jurisdictional defect, “the

court must dismiss the action.” FRCP 12(h)(3). A defendant may raise the issues of sovereign

immunity, mootness, and standing through a motion to dismiss under FRCP 12(b)(1). See Sato

v. Orange Cnty. Dep’t of Educ., 861 F.3d 923, 927 n.2 (9th Cir. 2017) (“A sovereign immunity

defense is ‘quasi-jurisdictional’ in nature and may be raised in either a Rule 12(b)(1) or 12(b)(6)

motion.”); Rosemere Neighborhood Ass’n v. U.S. Envtl. Prot. Agency, 581 F.3d 1169, 1172–73




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(9th Cir. 2009) (mootness); Alexander v. Kujok, 158 F. Supp. 3d 1012, 1017 (E.D. Cal. 2016)

(standing).

       ARGUMENT

               The Claims Against the State Should Be Dismissed Because It Is Immune
               from Suit Under the Eleventh Amendment

       The Eleventh Amendment articulates the doctrine of sovereign immunity. It provides,

“The Judicial power of the United States shall not be construed to extend to any suit in law or

equity, commenced or prosecuted against one of the United States by Citizens of another State,

or by Citizens or Subjects of any Foreign State.” U.S. Const., Amend. XI. The Supreme Court

has held that, despite the apparent limited terms of the Eleventh Amendment’s text, a federal

court also may not entertain a suit brought by citizens against their own states. Pennhurst State

School and Hospital v. Halderman, 465 U.S. 89, 98 (1984). The Supreme Court further has

interpreted the Eleventh Amendment’s protection as extending to suits invoking federal question

jurisdiction. Seminole Tribe of Fla. v. Florida, 517 U.S. 44, 72–73 (1996). Although a state

may waive its sovereign immunity by consenting to suit in federal court, the waiver must “be

unequivocally expressed.” Pennhurst, 465 U.S. at 99.

       Plaintiffs have sued the State. The State has not consented to suit in federal court for

federal constitutional claims. See Delong Corp. v. Or. State Highway Comm’n, 343 F.2d 911,

912 (9th Cir. 1965) (holding “that Oregon has not consented to be sued in federal court or

otherwise waived its immunity under the Eleventh Amendment”); Todd v. Oregon, 2014 WL

1217964, at *4 (D. Or. Mar. 19, 2014) (concluding that the State had not waived sovereign

immunity for federal constitutional claims). Accordingly, as required by the Eleventh

Amendment, the Court should dismiss all Plaintiffs’ claims against the State.



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                To the Extent Plaintiffs Assert a Takings Clause Claim, the Attorney General
                and the Director Are Immune Under the Eleventh Amendment

        The Eleventh Amendment similarly bars any takings claim against the Attorney General

and the Director. 4 The Eleventh Amendment’s prohibition against federal court jurisdiction over

suits by private parties against an unconsenting state is “a bit less absolute . . . where state

officials, instead of the State itself, are the subjects of suit.” Seven Up Pete Venture v.

Schweitzer, 523 F.3d 948, 952 (9th Cir. 2008). “Generally speaking, ‘a suit [brought] against a

state official in his or her official capacity is not a suit against the official but rather is a suit

against the official’s office. As such, it is no different from a suit against the State itself.’” Id.

(alteration in original) (quoting Will v. Mich. Dep’t. of State Police, 491 U.S. 58, 71 (1989)).

However, the Supreme Court carved out a “narrow” exception to sovereign immunity in Ex parte

Young, 209 U.S. 123 (1908). See Puerto Rico Aqueduct & Sewer Auth. v. Metcalf & Eddy, Inc.,

506 U.S. 139, 146 (1993) (describing “narrow” exception). If “the plaintiffs seek prospective

injunctive relief against the state official for a violation of federal law, the Eleventh Amendment

does not bar the action.” Seven Up, 523 F.3d at 953 (emphasis added).

        Takings claims do not fall within the narrow Ex parte Young exception. “The

applicability of the Ex parte Young exception turns on whether federal takings actions are

properly characterized as seeking prospective or retrospective relief.” Seven Up, 523 F.3d at

956. “A remedy for past injury, even if it purports to be an injunction against state officers

requiring the future payment of money, is barred because relief ‘inevitably come[s] from the



4
  If Plaintiffs do not intend to assert a claim under the Takings Clause, Defendants alternatively
move, pursuant to FRCPs 12(e) and 12(f), for an order requiring Plaintiffs to make their claims
more definite and certain or an order striking all allegations concerning the Takings Clause as
immaterial. (See Compl. ¶¶ 54, 59, 63).


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general revenues of the State . . . , and thus . . . resembles far more closely [a] monetary award

against the State itself,’ which is forbidden under the Eleventh Amendment.” Id. (emphasis

added) (alteration in original) (quoting Edelman v. Jordan, 415 U.S. 651, 665 (1974)). 5 In Seven

Up, the Ninth Circuit held that a claim under the Takings Clause—even if styled as a suit for

declaratory or injunctive relief—necessarily seeks “just compensation,” which amounts to

“damages for the unconstitutional denial of such compensation.” Id. (alteration in original)

(quoting City of Monterey v. Del Monte Dunes at Monterey, Ltd., 526 U.S. 687, 710 (1999)).

Accordingly, takings claims “cannot qualify as claims for prospective relief.” Id.

       In this regard, Takings Clause claims are unique because the Takings Clause is “self-

executing.” Knick v. Township of Scott, Penn., —U.S.—, 139 S. Ct. 2162, 2171 (2019). In other

words, “a property owner acquires an irrevocable right to just compensation immediately upon a

taking.” Id. at 2172. As soon as a court concludes that a taking has occurred, “the compensation

remedy is required.” Id. at 2176.

       The Sixth Circuit also recently elaborated on why plaintiffs cannot use the Ex parte

Young exception to obtain equitable relief under the Takings Clause. In Ladd v. Marchbanks, the

court explained that if the plaintiffs could obtain a declaration that a state violated the Takings

Clause by taking property without just compensation, they could use that order to require the

state to pay them for its alleged taking of their property. 2020 WL 4882885, at *5 (6th Cir. Aug.

20, 2020). This “isn’t a proper workaround to the States’ sovereign immunity.” Id.




5
  To the extent any of Plaintiffs’ other claims against the Attorney General and the Director seek
retroactive relief, they, too, do not come within the narrow Ex parte Young exception and are
barred by the Eleventh Amendment. Because the claim relating to the notice requirement under
HB 4204 § 1(9) seeks relief for past conduct, it falls into this category.


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       In the case at bar, Plaintiffs assert that if HB 4204 applies retroactively, Plaintiffs are

entitled to a declaration that HB 4204 violates the Takings Clause and an injunction preventing

such retroactive application. (Compl. ¶ 63). They allege that “[i]f read to apply retroactively to

judgments that have already been entered or execution or trustee’s sales that have already been

completed, HB 4204 would take vested property rights without just compensation in violation of

the Fifth Amendment to the United States Constitution.” (Compl. ¶ 60) (emphasis added).

Plaintiffs’ claim under the Takings Clause asks the Court to determine that Plaintiffs are entitled

to “just compensation.” The Ninth Circuit case Seven Up expressly precludes such a claim.

               Plaintiffs’ Claim Regarding the Notice Requirement in Subsection (9) Is
               Moot

       “A claim is moot if it has lost its character as a present, live controversy.” Id. (quoting

Am. Rivers v. Nat’l Marine Fisheries Serv., 126 F.3d 1118, 1123 (9th Cir. 1997). A claim

seeking injunctive relief to prevent an event that already has passed is moot. See Bernhardt v.

Cnty. of Los Angeles, 279 F.3d 862, 871 (9th Cir. 2002) (“Where the activities sought to be

enjoined already have occurred . . . the action is moot, and must be dismissed.”). Additionally,

“the repeal, amendment, or expiration of challenged legislation is generally enough to render a

case moot and appropriate for dismissal.” Bd. of Trustees of Glazing Health & Welfare Tr. v.

Chambers, 941 F.3d 1195, 1198 (9th Cir. 2019).

       Lenders conducting business in Oregon had until August 30, 2020, to comply with

HB 4204’s notice requirement in subsection (9). That deadline has passed. Plaintiffs do not

allege failure to comply with the notice provision, and some, if not all, of the Plaintiffs have

complied. For the Plaintiffs, there is nothing to enjoin at this point. The statute does not provide

any private right of action for noncompliance with the notice requirement. The provision has



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effectively expired, and no “present, live controversy” exists for the Court to adjudicate.

Accordingly, Plaintiffs’ claim concerning the notice requirement is moot and should be

dismissed. 6

               OBA Does Not Have Standing

       In addition to dismissing all claims against the State and the Takings Clause claim, the

Court should dismiss OBA’s remaining claims because the organization has neither individual

nor associational standing.

                       OBA Lacks Individual Standing

       “Under Article III, Section 2 of the Constitution, federal judicial power extends only to

cases or controversies, requiring ‘as an irreducible minimum that there be (1) an injury in fact,

(2) a causal relationship between the injury and the challenged conduct, and (3) a likelihood that

the injury will be redressed by a favorable decision.’” Mink, 322 F.3d at 1108 (quoting United

Food & Commercial Workers Union Local 751 v. Brown Grp., Inc., 517 U.S. 544, 551 (1996)).

“A plaintiff has the burden to establish that it has standing.” WildEarth Guardians v. U.S. Dep’t

of Agric., 795 F.3d 1148, 1154 (9th Cir. 2015). OBA does not meet its burden to satisfy any of

the three prongs for individual constitutional standing.

       OBA’s only allegations concerning injury are that its unidentified members have suffered

harm. (Compl. ¶¶ 32–33). It does not plead, nor can it plead, any harm that it personally

suffered that fairly could be traced back to Defendants or that a favorable ruling could redress.

See Duke Power Co. v. Carolina Envtl. Study Grp., Inc., 438 U.S. 59, 80 (1978) (“[T]his Court



6
 Additionally, as discussed above, the Eleventh Amendment provides the Attorney General and
Director immunity from Plaintiffs’ notice claim because it seeks only retrospective relief. Seven
Up, 523 F.3d at 956.


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has held that the plaintiff generally must assert his own legal rights and interests, and cannot rest

his claim to relief on the legal rights or interests of third parties.” (internal quotation marks

omitted)). OBA does not have individual standing.

                        OBA Lacks Associational Standing

        OBA also cannot meet the requirements to establish associational standing.

Associational standing is a narrow and limited exception to the general rule that “litigants may

not assert the rights of absent third parties.” United Food, 517 U.S. at 557. Associational

standing permits an organization to litigate as a representative of its members if (1) the

organization’s “members would otherwise have standing to sue in their own right”; (2) the

interests that the organization “seeks to protect are germane to the organization’s purpose”; and

(3) “neither the claim asserted nor the relief requested requires the participation of individual

members in the lawsuit.’” Ass’n of Christian Sch. Int’l v. Stearns, 678 F. Supp. 2d 980, 983–84

(C.D. Cal. 2008) (emphasis added) (quoting Hunt v. Wash. State Apple Adver. Comm’n, 432 U.S.

333, 343 (1977)), aff’d, 362 F. App’x 640 (9th Cir. 2010). The first two prongs are

constitutional in nature and grounded in Article III; the third prong is “prudential” or one of the

“judicially fashioned” limitations on the exercise of federal jurisdiction. United Food, 517 U.S.

at 556–58. In this case, OBA does not satisfy the second or third prong of associational

standing. 7




7
  If the Court rules that OBA has satisfied the second and third prongs of associational standing,
Defendants reserve the right to challenge the first prong should Defendants learn, in discovery,
that no individual member of OBA has standing to sue the Attorney General or the Director. See
Nat’l Org. for Women, Inc. v. Scheidler, 510 U.S. 249, 255 (1994) (“Standing represents a
jurisdictional requirement which remains open to review at all stages of the litigation.”). As
described above, the State is not a proper party regardless of whether any plaintiff has standing.



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                               Plaintiffs Fail to Plead that this Lawsuit Is Germane to OBA’s
                               Purpose

       As to the second prong, OBA has not pled that the interests it seeks to protect are

germane to the organization’s purpose. OBA alleges that “[i]ts mission is to be the voice of

Oregon banking.” (Compl. ¶ 2). It also alleges that it “is a trade association serving state and

national banks, savings banks and associations, and trust companies doing business in Oregon.”

(Id.). But it makes no further allegations about its organizational purpose or about how this

lawsuit furthers that purpose. OBA fails to connect its mission to the claims in this action and

thus does not satisfy the germaneness requirement for associational standing. See Comm. for

Reasonable Regulation of Lake Tahoe v. Tahoe Reg’l Planning Agency, 365 F. Supp. 2d 1146,

1162 (D. Nev. 2005) (stating that an association has the burden of pleading sufficient facts to

establish standing).

                               This Lawsuit Requires Participation of OBA’s Individual
                               Members

       As to the third prong, OBA’s proffered claims and requested relief require individual

members’ participation in the lawsuit. Associational standing exists only “when the claims

proffered and relief requested do not demand individualized proof on the part of its members.”

Associated Gen. Contractors of Cal., Inc. v. Coal. for Econ. Equity, 950 F.2d 1401, 1408 (9th

Cir. 1991); Rent Stabilization Ass’n of City of New York v. Dinkins, 5 F.3d 591, 596 (2d Cir.

1993) (“[T]he relief sought is only half of the story.”). Claims seeking broad injunctive relief

may require individualized proof because of the nature of either the claims or the relief sought.

See Lake Tahoe, 365 F. Supp. 2d at 1164 (concluding that even though an association requested

only declaratory and injunctive relief, it lacked standing to assert an as-applied takings claim




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where an ordinance had “separate and disparate effects on each of [the association’s] different

members”).

       OBA’s claims require individualized proof. Plaintiffs raise an as-applied challenge to

HB 4204 under the Supremacy, Contracts, Takings, and Due Process Clauses. 8 The as-applied

nature of these three claims is apparent from the face of the Complaint. In their recitation of the

factual background, Plaintiffs discuss the impact of HB 4204 on banks of varying sizes with

different percentages of their portfolios in Oregon. (Compl. ¶¶ 32–37). Some—but not all—of

these banks allegedly “imposed or collected fees or charges based on a missed periodic payment

in March, April, or May of 2020 (before HB 4204’s effective date)” and thus “are exposed to a

private right of action (and attorney fees) for conduct that was legal at the time it occurred.”

(Compl. ¶ 35). Plaintiffs also allege that the law may prevent some—but not necessarily all—

banks from requiring borrowers to maintain sufficient funds in escrow accounts. (Compl. ¶ 37).

Plaintiffs thus acknowledge that some banks doing business in Oregon, including potentially

OBA’s own members, are unaffected or uninjured by HB 4204.

       Each claim for relief reinforces that Plaintiffs are asserting an as-applied challenge that

requires individualized proof. In its first claim for relief under the Supremacy Clause, Plaintiffs

allege that federal law preempts only “those sections of HB 4204 as-applied to national banks

and federal savings associations.” (Compl. ¶ 40). Plaintiffs allege that other provisions of

federal law preempt only “those sections of HB 4204 as applied to out-of-state chartered banks.”



8
  “A statute may be unconstitutional ‘on its face’ or ‘as applied.’ A successful challenge to the
facial constitutionality of a statute invalidates the statute itself, whereas a successful as-applied
challenge does not render the statute itself invalid but only the particular application of the
statute.” Davis v. Johnson, 359 F. Supp. 3d 831, 863 (N.D. Cal. 2019) (citing Foti v. City of
Menlo Park, 146 F.3d 629, 635 (9th Cir. 1998)).


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(Id.). Still other provisions have preemptive effect to the extent that HB 4204 is “applied to

federally backed mortgages.” (Comp. ¶ 41). Finally, Plaintiffs allege that HB 4204 is preempted

as applied to Oregon-chartered banks only in so far as it prevents them from exercising “the

same powers as their federal counterparts.” (Compl. ¶ 43).

       To prove these preemption allegations, not only will Plaintiffs need to differentiate

between how HB 4204’s provisions apply to OBA’s various members, but they also will need to

show that HB 4204 will “impair significantly” the ability of national banks to exercise the

powers granted by Congress. See Barnett Bank of Marion Cnty., N.A. v. Nelson, 517 U.S. 25, 33

(1996) (stating that state laws regulating national banks are not preempted unless the state law

will “impair significantly” or “prevent or significantly interfere with the national bank’s exercise

of its powers”); see also 12 U.S.C. § 25b (codifying the Barnett standard and requiring a “case-

by-case” analysis of the effect of any state law on national banks). The same standard applies to

federal savings associations. See 12 U.S.C. § 1465(a) (making the preemption analysis identical

for national banks and federal savings associations). Accordingly, the Supremacy Clause claim

will require individualized proof of whether and to what degree HB 4204 impairs OBA

members’ exercise of federally conferred powers.

       To succeed on Plaintiffs’ second claim for relief under the Contracts Clause, OBA will

need to prove that that HB 4204 operates “as a substantial impairment of a contractual

relationship.” Lazar v. Kroncke, 862 F.3d 1186, 1199 (9th Cir. 2017) (quoting Gen. Motors

Corp. v. Romein, 503 U.S. 181, 186 (1992)). “This inquiry has three components: whether there

is a contractual relationship, whether a change in law impairs that contractual relationship, and

whether the impairment is substantial.” Id. (quoting Gen. Motors, 503 U.S. at 186). The

Complaint attempts to satisfy these requirements by alleging that “HB 4204 substantially impairs


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Plaintiffs’ preexisting contractual relationships by altering the contractual obligations owed to

Plaintiffs and by depriving them of the benefit of their contractual rights and protections.”

(Compl. ¶ 48). OBA, as a trade organization, does not have any contracts with borrowers that

could be impaired by HB 4204. Rather, at most, some OBA members might have contracts that

could be impaired. Thus, OBA would need individualized proof concerning its individual

members’ particular contractual relationships and the degree to which HB 4204 impairs them.

       In their third claim, Plaintiffs allege that, if HB 4204 is read to apply retroactively, it

would take vested property rights without due process or just compensation. (Compl. ¶ 60).

Regarding due process, Plaintiffs allege that HB 4204 “arbitrarily and irrationally impos[es]

substantial retroactive liability for banks based on conduct that was legal at the time it occurred,

and . . . void[s] final judgments and other vested property rights.” (Compl. ¶ 58). This appears

to be a substantive, as opposed to procedural, due process claim. See Sylvia Landfield Tr. v. City

of Los Angeles, 729 F.3d 1189, 1195 (9th Cir. 2013) (describing elements of substantive due

process claim). To succeed on this claim, OBA must prove that its members have been

arbitrarily deprived of a property interest. Id. This will depend on “individualized economic and

financial data.” Rent Stabilization, 5 F.3d at 597 (concluding that organization did not have

standing to bring a substantive due process claim).

       Similarly, to succeed on any takings claim, OBA must first show that its members

“possess[ ] a constitutionally protected property interest.” McIntyre v. Bayer, 339 F.3d 1097,

1099 (9th Cir. 2003). OBA also must present proof of the magnitude of HB 4204’s “economic

impact and the degree to which it interferes with legitimate property interests.” Lingle v.

Chevron U.S.A. Inc., 544 U.S. 528, 540 (2005)). This inquiry is “essentially ad hoc and fact

intensive.” E. Enterprises v. Apfel, 524 U.S. 498, 523 (1998) (plurality opinion). Accordingly,


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on the takings claim, OBA would need to present individualized proof of each member’s

protected property interest and how HB 4204 interferes with it. See Rent Stabilization, 5 F.3d at

596–97 (holding that organization did not have standing to bring a Takings Clause claim because

the court “would have to engage in an ad hoc factual inquiry for each landlord who alleges that

he has suffered a taking”).

       Because of the fact-intensive nature of Plaintiffs’ claims, OBA’s individual members

must participate in the litigation. Otherwise, the litigants face the risk that OBA lacks

“adversarial intensity” and “the evidence necessary” to prosecute its case. United Food, 517

U.S. at 556. Accordingly, OBA does not have associational standing to bring the claims on its

members’ behalf. See Parent/Prof’l Advocacy League v. City of Springfield, Mass., 934 F.3d 13,

35 (1st Cir. 2019) (denying associational standing where “[e]fficient and successful judicial

resolution of the claims would . . . require participation and cooperation by numerous students

and parents”); Free Speech Coal., Inc. v. Attorney Gen. U.S., 787 F.3d 142, 154 (3d Cir. 2015)

(“Identifying those members for whom the Statutes may be unconstitutional thus requires an

individualized inquiry that fails to satisfy the requirements for associational standing.”), modified

on other grounds on reh’g, 825 F.3d 149 (3d Cir. 2016); Ass’n of Christian Sch., 362 F. App’x at

644 (holding that an association of high schools did not have standing to challenge a university

admissions policy because the as-applied claims would require “individualized proof” specific to

particular high school courses and the schools that offered them); New York State Nat. Org. for

Women v. Pataki, 261 F.3d 156, 171 n.4 (2d Cir. 2001) (holding that an organization lacked

associational standing to bring a due process claim where “[s]uch a challenge would plainly

require examination of facts specific to each claimant”).




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       Moreover, the relief Plaintiffs seek—like their proffered claims—would require OBA’s

individual members’ participation. Plaintiffs request a declaration that subsections (3) and (9)

violate the Supremacy and Contracts Clauses and that retroactive application of some provisions

of HB 4204 would be an unconstitutional taking or violative of due process rights. Plaintiffs also

request an injunction to prevent Defendants from enforcing subsections (3) and (9) or enforcing

HB 4204 retroactively. But only certain OBA members, if any, may be entitled to this relief.

       For example, only Oregon banks who cannot exercise the same powers as their federal

counterparts may be entitled to relief under the Supremacy Clause. Only those members who

have had their contractual relationships substantially impaired would have any basis to claim

relief under the Contracts Clause. And only those members have been deprived of a legitimate

property interest could have any basis to claim relief under the Due Process and Takings Clauses.

This means that to the extent OBA members have viable claims, the Court would need to fashion

individual remedies based on “these multiple variations, specific to individual members.”

Spinedex Physical Therapy USA Inc. v. United Healthcare of Ariz., Inc., 770 F.3d 1282, 1293

(9th Cir. 2014) (holding that organization lacked standing to seek declaratory and injunctive

relief where “the individual situations” of members varied). Because the injuries alleged are

individualized and based on specific application of HB 4204 to each of OBA’s members, OBA

necessarily seeks separate, as opposed to generalized, relief and thus does not have associational

standing. The Court should dismiss all OBA’s claims.

               Lewis & Clark Bank and People’s Bank of Commerce Do Not Have Standing
               to Bring Their Third Claim for Relief

       Like OBA, Lewis & Clark Bank and People’s Bank of Commerce lack individual

standing to bring their third claim based on retroactivity, the Due Process Clause, and the



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Takings Clause. Plaintiffs have an obligation to satisfy the three requirements of individual

standing for each claim. DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 352 (2006) (“Our

standing cases confirm that a plaintiff must demonstrate standing for each claim he seeks to

press.”). In their third claim, Lewis & Clark Bank and People’s Bank of Commerce plead no

facts showing personal injury, fairly traceable to the defendant’s allegedly unlawful conduct, that

is likely to be redressed by the requested relief.

       In their third claim, Plaintiffs allege that “[b]etween March 8, 2020 and June 30, 2020,

OBA members legally exercised contractual rights now prohibited by HB 4204.” (Compl. ¶ 57).

They also plead that in the same period, “Oregon courts entered judgments of foreclosure and

sale in favor of OBA members.” (Compl. ¶ 59). Unlike Plaintiff Bank of Eastern Oregon, which

allegedly assessed contractually authorized late fees between March 8 and June 30, 2020, neither

Lewis & Clark Bank nor People’s Bank of Commerce alleges that it legally exercised any

contractual right that HB 4204 now prohibits. The only injury alleged by Lewis & Clark Bank

occurred after the statute’s enactment on June 30, 2020. (Compl. ¶ 3). People’s Bank of

Commerce alleges no harm whatsoever. (Compl. ¶ 5). The face of the Complaint shows that the

alleged retroactive application of HB 4204 has no impact on Lewis & Clark Bank or People’s

Bank of Commerce, and a favorable ruling could not redress any harm suffered by these two

plaintiffs. They therefore lack standing to bring the third claim for relief.

       CONCLUSION

       Based on the foregoing jurisdictional defects, Defendants respectfully request that the

Court dismiss all claims against the State, dismiss the Takings Clause claim against the Attorney

General and Director, dismiss all claims concerning subsection (9)’s notice requirement, dismiss




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all OBA’s claims, and dismiss Lewis & Clark Bank’s and People’s Bank of Commerce’s third

claim.

         DATED this 29th day of September, 2020.



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